

ORDER

PER CURIAM:
AND NOW, this 27th day of May, 1994, upon consideration of the Report and Supplemental Report and Recommendations of the Disciplinary Board of the Supreme Court of Pennsylvania dated March 11,1993 and April 22, 1994, the Petition for Reinstatement is granted.
Pursuant to Rule 218(e), Pa.R.D.E., petitioner is directed to pay the expenses incurred by the Board in the investigation and processing of the Petition for Reinstatement.
FLAHERTY and PAPADAKOS, JJ., dissent.
FRANK J. MONTEMURO, J., is sitting by designation as Senior Justice pursuant to Judicial Assignment Docket No. 94 R1800, due to the unavailability of LARSEN, J., see No. 127 Judicial Administration Docket No. 1, filed October 28, 1993.
